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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

UNITED STATES OF AMERICA,                         )   CASE NO.: 3:23CR54
                                                  )
               Plaintiff,                         )   JUDGE JAMES R. KNEPP, II
                                                  )
       v.                                         )
                                                  )
MUHAMMADO ABDOULAYE                               )   PROPOSED PROTECTIVE ORDER
DIOKHANE, aka MO, et al.,                         )
                                                  )
               Defendants.                        )

       This matter is before the Court upon the Government’s application, pursuant to Criminal

Rule of Procedure 16(d)(1), for a Protective Order to restrict access to certain discovery

materials.

       The Court finds and orders as follows:

       (1) There is good cause to believe that the restriction of certain discovery information,

including records containing personal identifiers and financial information of victims/witnesses

and Jencks Acts materials, under the terms set forth in this Order, will ensure the safety

victims/witnesses, protect the personal information of individuals involved in the case, preserve

the integrity of the discovery process and serve the ends of justice, while protecting the rights of

the Defendant to the disclosure of evidence under Criminal Rule of Procedure 16(a) and to

adequately assist counsel in the preparation of a defense.
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          (2) Counsel for the government will clearly identify to defense counsel those discovery

materials that it deems in need of protection. Such materials shall be clearly marked, “Protected

Material.” If a compact disc, DVD, hard drive or thumb drive is marked “Protected Material,”

the term “Protected Material” applies to the entire contents of the compact disc, DVD, hard drive

or thumb drive, unless otherwise specified. If discovery is produced on USAfx, and a folder is

marked “Protected Material,” the term “Protected Material” applies to the entire contents of the

folder.

           (3) It is ordered that items marked “Protected Material,” which are disclosed by the

 Government to defendant’s counsel, must be maintained in a secure location. Discovery items

 may be disclosed and shared amongst defense counsel’s representatives, agents, and staff.

           (4) It is ordered that counsel for Defendant may copy “Protected Material” and provide

 the copy, electronic or otherwise, of the “Protected Material” for the purpose of sharing the

 material with the specific Defendant that counsel represents, and representatives, agents and

 staff of counsel.

           (5) It is ordered that counsel for Defendant is prohibited from providing access to

 “Protected Material” discovery to any person who is not directly associated with the legal

 representation of his client, except under the terms set forth in this Order.

           (6) It is ordered that counsel for Defendant is personally responsible for ensuring that

 “Protected Material” discovery is not disseminated in a manner in violation of the above

 procedures.

           (7) Counsel for Defendant may challenge the “Protected Material” designation of

 select discovery by filing a motion with this Court. Prior to bringing any challenge before the

 Court, however, defense counsel must first attempt to resolve the matter informally with the




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 government.

         Violation of any provision in this Protective Order may be punished as Contempt of

Court.




                                                  JAMES R. KNEPP, II
                                                  UNITED STATES DISTRICT JUDGE

Dated: _______________________




                                              3
